           Case 3:25-cv-05461-DGE         Document 172      Filed 06/30/25           Page 1 of 4

                                                                 The Honorable David G. Estudillo


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7
                             UNITED STATES DISTRICT COURT
8                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
9

     PAUL D. ETIENNE, et al.,
10

11                  Plaintiffs,
                                                     No. 3:25-cv-05461-DGE
12
            v.
13
                                                     DEFENDANT GOLIK’S RESPONSE TO
     ROBERT W. FERGUSON, IN HIS OFFICIAL             PLAINTIFFS’ MOTION FOR
14   CAPACITY AS GOVERNOR OF                         PRELIMINARY INJUNCTION
     WASHINGTON, et. al.,
15

16                  Defendants.                      NOTE ON MOTION CALENDAR:
                                                     July 7, 2025
17

18          Defendant Anthony Golik, by and through his counsel of record, Senior Deputy
19
     Prosecuting Attorney Amanda M. Migchelbrink, responds to Plaintiffs’ Motion for Preliminary
20
     Injunction as follows:
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29
      DEFENDANT GOLIK’S RESPONSE TO PLAINTIFFS’ MOTION              CLARK COUNTY PROSECUTING ATTORNEY
                                                                                  CIVIL DIVISION
30    FOR PRELIMINARY INJUNCTION - 1 of 4                          1300 FRANKLIN ST., SUITE 380 • PO BOX 5000
                                                                     VANCOUVER, WASHINGTON 98666-5000
31                                                                (564) 397-2478 (OFFICE) / (564) 397-2184 (FAX)


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1           At this time, Defendant takes no position with regard to Plaitniffs’ Motion for
2
     Preliminary Injunction. In taking such a position, Defendant does not agree that Plaintiffs are
3
     likely to prevail on the merits of their claims but will allow the other parties to argue and address
4

5
     these issues at the preliminary stage.

6           Dated June 30, 2025.
7

8
                                                   s/ Amanda M. Migchelbrink
9
                                                   Amanda M. Migchelbrink, WSBA #34223
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      DEFENDANT GOLIK’S RESPONSE TO PLAINTIFFS’ MOTION                   CLARK COUNTY PROSECUTING ATTORNEY
                                                                                       CIVIL DIVISION
30    FOR PRELIMINARY INJUNCTION - 2 of 4                               1300 FRANKLIN ST., SUITE 380 • PO BOX 5000
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           Case 3:25-cv-05461-DGE           Document 172         Filed 06/30/25           Page 3 of 4




1                                    CERTIFICATE OF SERVICE
2
            I, Jesica Allee, hereby certify that on June 30, 2025, I electronically filed the foregoing
3
     DEFENDANT GOLIK’S RESPONSE TO PLAINTIFFS’ MOTION FOR PRELIMINARY
4

5
     INJUNCTION with the Clerk of the Court using the CM/ECF system to be made on all parties of

6    record as follows:
7
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      DEFENDANT GOLIK’S RESPONSE TO PLAINTIFFS’ MOTION                   CLARK COUNTY PROSECUTING ATTORNEY
                                                                                       CIVIL DIVISION
30    FOR PRELIMINARY INJUNCTION - 3 of 4                               1300 FRANKLIN ST., SUITE 380 • PO BOX 5000
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          Case 3:25-cv-05461-DGE          Document 172        Filed 06/30/25          Page 4 of 4




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18   Civil Rights Division
19
           Dated June 30, 2025,
20

21
                                         s/ Jesica Allee
22                                       Jesica Allee, Legal Assistant
23

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29
     DEFENDANT GOLIK’S RESPONSE TO PLAINTIFFS’ MOTION                CLARK COUNTY PROSECUTING ATTORNEY
                                                                                   CIVIL DIVISION
30   FOR PRELIMINARY INJUNCTION - 4 of 4                            1300 FRANKLIN ST., SUITE 380 • PO BOX 5000
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